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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                                      Chapter 11

THE GREAT ATLANTIC & PACIFIC TEA                            Case No. 15-23007-rdd
COMPANY, INC., et al.,1
                                                            Jointly Administered
                  Debtors.
THE GREAT ATLANTIC & PACIFIC TEA                            Adv. Pro. No. 18-8245-rdd
COMPANY, INC., et al.,
                  Plaintiff,

         - against -

PEPSICO, INC.; BOTTLING GROUP, LLC
(d/b/a Pepsi Beverages Company and f/d/b/a
The Pepsi Bottling Group); FRITO-LAY
NORTH AMERICA, INC.; PEPSI-COLA
METROPOLITAN BOTTLING COMPANY,
INC.; PEPSI-COLA HASBROUCK
HEIGHTS; PEPSI-COLA BOTTLING
COMPANY; QUAKER SALES AND
DISTRIBUTION, INC.; MULLER QUAKER
DAIRY, LLC; STACY’S PITA CHIP
COMPANY, INC.; PEPSI BOTTLING
GROUP, NJ; and PEPSI USA,
                     Defendants.

      STIPULATION AND ORDER EXTENDING TIME TO RESPOND TO SECOND
    AMENDED COMPLAINT AND AMENDING ADVERSARY PROCEEDING CAPTION

         WHEREAS, on August 7, 2018, Plaintiff, PepsiCo, Inc., and Pepsi-Cola Bottling

Company of New York, Inc. filed a stipulation under which Plaintiff agreed to dismiss certain

causes of action asserted in the First Amended Complaint;

         WHEREAS, on August 17, 2018 Plaintiff filed a Second Amended Complaint, the

caption of which omits Pepsi-Cola Metropolitan Bottling Company, Inc., Pepsi-Cola Hasbrouck



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  The Debtors are: 2008 Broadway, Inc.; The Great Atlantic & Pacific Tea Company, Inc.; A&P Live Better, LLC;
A&P Real Property, LLC; APW Supermarket Corporation; APW Supermarkets, Inc.; Borman’s, Inc.; Delaware
County Dairies, Inc.; Food Basics, Inc.; Kwik Save Inc.; McLean Avenue Plaza Corp.; Montvale Holdings, Inc.;
Montvale-Para Holdings, Inc.; Onpoint, Inc.; Pathmark Stores, Inc.; Plainbridge LLC; Shopwell, Inc.; Super Fresh
Food Markets, Inc.; The Old Wine Emporium of Westport, Inc.; Tradewell Foods of Conn., Inc.; and Waldbaum,
Inc.
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Heights, and Pepsi-Cola Bottling Company as named Defendants, and which does not otherwise

assert a cause of action against or refer to those entities; and

         WHEREAS, Plaintiff has agreed to extend Defendants’ time to answer or otherwise

respond to the Second Amended Complaint under Rule 15(a)(3) through September 7, 2018.

         NOW THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by and between

counsel for the parties to this adversary proceeding, and subject to Court approval, that:

         1.      Defendants’ time to answer or otherwise respond to the Second Amended

Complaint is hereby extended through September 7, 2018.  

         2.      To reflect the present alignment of the parties, Pepsi-Cola Metropolitan Bottling

Company, Inc., Pepsi-Cola Hasbrouck Heights, and Pepsi-Cola Bottling Company shall be

removed from the docket sheet as named Defendants, and the caption for this adversary

proceeding shall be modified as follows: 

In re:                                                 Chapter 11

THE GREAT ATLANTIC & PACIFIC TEA                       Case No. 15-23007-rdd
COMPANY, INC., et al.,1
                                                       Jointly Administered
                  Debtors.
THE GREAT ATLANTIC & PACIFIC TEA                       Adv. Pro. No. 18-8245-rdd
COMPANY, INC., et al.,
                  Plaintiff,

         - against -

PEPSICO, INC.; BOTTLING GROUP, LLC
(d/b/a Pepsi Beverages Company and f/d/b/a
The Pepsi Bottling Group); FRITO-LAY
NORTH AMERICA, INC.; QUAKER SALES
AND DISTRIBUTION, INC.; MULLER
QUAKER DAIRY, LLC; STACY’S PITA
CHIP COMPANY, INC.; PEPSI BOTTLING
GROUP, NJ; and PEPSI USA,
                     Defendants.
          


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Dated: August 17, 2018

/s/ David N. Crapo                                /s/ Jeffrey Chubak
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                                                  jkleinman@fgllp.com

                                                  Attorneys for Defendants

SO ORDERED this 20th day of August, 2018


/s/Robert D. Drain
Honorable Robert D. Drain
United States Bankruptcy Judge




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